        Case 2:21-cv-00919-DWL Document 16 Filed 06/21/21 Page 1 of 3




 1 Kenneth M. Motolenich-Salas (Bar No. 027499)
   MotoSalas Law, PLLC
 2 16210 North 63rd Street
   Scottsdale, Arizona 85254
 3 Telephone (202) 257-3720
 4 E-mail: ken@motosalaslaw.com
 5 Jay Johnson (Pro Hac Vice To Be Forthcoming)
   Kizzia Johnson PLLC
 6
   1910 Pacific Ave., Ste. 13000
 7 Dallas, TX 75201
   Telephone (214) 451-0164
 8 E-mail: jay@kjpllc.com
 9 Attorneys for Plaintiff Digital Verification Systems, LLC
10
11                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ARIZONA
12
13 Digital Verification Systems, LLC,           §
                                                §
14
                                                §
15         Plaintiff,                           §            Case No: 2:21-cv-00919-DWL
                                                §
16                                              §            STIPULATION OF DISMISSAL
17 v.                                           §            PURSUANT TO FED. R. CIV. P.
                                                §            41(a)(2)
18 Zava Global Partners LLC                     §
   d/b/a BLUEINK,                               §
19
                                                §
20         Defendant.                           §
     ________________________________
21
22         Pursuant to Fed. R. Civ. P. 41(a)(2), Plaintiff Digital Verification Systems, LLC, and
23 Defendant Zava Global Partners, LLC d/b/a Blueink, by their respective undersigned counsel,
24 hereby STIPULATE and AGREE as follows:
25         1.     All claims asserted by the Plaintiff in this Action are dismissed with prejudice
26 and all counterclaims asserted by the Defendant in this Action are dismissed without prejudice
27 under Fed. R. Civ. P. 41(a)(1)(A)(ii).
28         2.     Each party shall bear its own costs and attorneys’ fees with respect to the matters


                                                    1
        Case 2:21-cv-00919-DWL Document 16 Filed 06/21/21 Page 2 of 3




 1 dismissed hereby.
 2         A proposed form of Order is being filed concurrently herewith.
 3
     Dated: June 21, 2021                   Respectfully submitted,
 4
                                            /s/ Kenneth M. Motolenich-Salas
 5
                                            Kenneth M. Motolenich-Salas (Bar No. 027499)
 6                                          MotoSalas Law, PLLC
                                            16210 North 63rd Street
 7                                          Scottsdale, Arizona 85254
 8                                          Telephone (202) 257-3720
                                            E-mail: ken@motosalaslaw.com
 9
                                            Jay Johnson (Pro Hac Vice To Be Forthcoming)
10
                                            Kizzia Johnson PLLC
11                                          1910 Pacific Ave., Ste. 13000
                                            Dallas, TX 75201
12                                          Telephone (214) 451-0164
13                                          E-mail: jay@kjpllc.com

14                                          Attorneys for Plaintiff Digital Verification Systems,
                                            LLC
15
16                                          FISH & RICHARDSON P.C.
17
                                            By: Neil J. McNabnay with permission
18                                          Neil J. McNabnay pro hac vice
19                                          mcnabnay@fr.com
                                            Texas Bar No. 24002583
20                                          Ricardo J. Bonilla pro hac vice
                                            rbonilla@fr.com
21
                                            Texas Bar No. 24082704
22                                          Collin J. Marshall pro hac vice
                                            cmarshall@fr.com
23                                          Texas Bar No. 24109509
24                                          1717 Main Street, Suite 5000
                                            Dallas, Texas 75201
25                                          (214) 747-5070 (Telephone)
                                            (214) 747-2091 (Facsimile)
26
27                                          Attorneys for Defendant Zava Global
                                            Partners, LLC d/b/a Blueink
28


                                                 2
       Case 2:21-cv-00919-DWL Document 16 Filed 06/21/21 Page 3 of 3




 1                                 CERTIFICATE OF SERVICE
 2
           I hereby certify that on June 21, 2021, I electronically filed the above document(s) with
 3 the  Clerk of Court using CM/ECF which will send electronic notification of such filing(s) to
   all registered counsel.
 4
 5                                             /s/ Kenneth M. Motolenich-Salas
                                               Kenneth M. Motolenich-Salas (Bar No. 027499)
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                   3
